Case 4:24-cr-00057-GKF Document 6 Filed in USDC ND/OK on 02/09/24 Page 1of1

Cab’ vinsealed 2/8/2004

AO 442 (Rev. 10/13) Arrest Warrant _ \A ji] + LJ ~ Leh ee tree _
F I L E D UNITED STATES DISTRICT cout -8 AMIN: 53
FEB 09 2024 for the WiOK

Northern District of Oklahoma

Mark C. McCartt, Clerk
U.S. DISTRICT GOURT

United States of America )
Vv. ) yi | —- GU SH
) Case No. og U “WO 14
MORGAN WOMACK )
Defendant )
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) MORGAN WOMACK,
who is accused of an offense or violation based on the following document filed with the court:

QO) Indictment © Superseding Indictment © Information () Superseding Information Complaint
C) Probation Violation Petition C Supervised Release Violation Petition O Violation Notice [ Order of the Court

This offense is briefly described as follows:

21 U.S.C. § 846 — Drug Conspiracy
21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii) — Possession of Methamphetamine with Intent to Distribute

Date: ale a4 ak II] Qa Coen SJ

Issiljnmofficer stignature

City and state: Tulsa. Oklahoma Susan Huntsman, United States Magistrate Ju
Printed name and title

Return

This warrant was received on (date) OU oY [ Zoly , and the person was arrested on (dare) 02/ OF fi LO’ f

At (city and state) Ak Vise Z Oe

pate: OC /05 (lord | let

Arresting officer's signature

St flan Fra nlc

Printed name and title

ACB/kj
